                  EXHIBIT K




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                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

       Plaintiff,                                   Case No. 5:19-cv-00475-BO

vs.                                           AT&T MOBILITY LLC’S INITIAL
                                              DISCLOSURES PURSUANT TO
AT&T MOBILITY LLC,
                                                FEDERAL RULE OF CIVIL
       Defendant.                                 PROCEDURE 26(a)(1)




       Defendant AT&T Mobility LLC (“AT&T”), by and through undersigned

counsel, hereby makes the following disclosures pursuant to Rule 26(a)(1) of the

Federal Rules of Civil Procedure.

       These disclosures are made prior to discovery, after making a good faith

inquiry and investigation as is reasonable under the circumstances. This

investigation is continuing, and AT&T reserves the right to correct and/or

supplement these disclosures pursuant to Rule 26(e) should it become aware of

additional relevant information.

       By making the following disclosures, AT&T does not represent that it is

identifying every document, tangible thing, or witness relevant to this lawsuit. In

addition, AT&T does not waive its right to object to any discovery request or

proceeding involving or relating to these disclosures on any grounds, including

competency, privilege, the work product doctrine, relevancy, hearsay, materiality,

undue burden, or any other valid objection. Furthermore, these disclosures are not

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an admission by AT&T regarding any matter. All of the disclosures set forth below

are made subject to the above qualifications.

       (i)   The name and, if known, the address and telephone number of
each individual likely to have discoverable information—along with the
subjects of that information—that the disclosing party may use to support
its claims or defenses, unless the use would be solely for impeachment.

       Subject to the above qualifications, AT&T identifies the following individuals

who may have knowledge regarding the claims or defenses in this matter:


 Name & Contact           Employer                 Area of Knowledge
 Information

 Stephen Defiore          Upon information         Upon information and belief,
 (address and             and belief, former       knowledge regarding the SIM
 telephone number         employee or              change that occurred on or
 unknown)                 contractor of Prime      around November 5, 2018
                          Communications,
                          L.P. (“Prime”)
                          (current employer
                          unknown)
 Marcus Vasquez           Upon information         Upon information and belief,
 (address and             and belief, former       knowledge regarding the SIM
 telephone number         employee or              change that occurred on or
 unknown)                 contractor of Alorica    around December 1, 2018
                          Inc. (“Alorica”)
                          (current employer
                          unknown)
 Sydney Hancock           Former AT&T retail       Upon information and belief,
 (address and             sales employee           knowledge regarding the SIM
 telephone number         (current employer        change that occurred on or
 unknown)                 unknown)                 around December 2, 2018
 Gabriel Jimenez          Upon information         Upon information and belief,
 (address and             and belief, current or   knowledge regarding the SIM
 telephone number         former employee or       change that occurred on or
 unknown)                 contractor of Alorica    around February 4, 2019




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 Name & Contact           Employer                 Area of Knowledge
 Information

 Rex Mostoles             Upon information         Upon information and belief,
 (address and             and belief, former       knowledge regarding the SIM
 telephone number         employee or              change that occurred on or
 unknown)                 contractor of TPUSA,     around February 6, 2019
                          Inc.
                          (“Teleperformance”)
                          (current employer
                          unknown)
 Vanessa Libanan          Upon information         Upon information and belief,
 (address and             and belief, current or   knowledge regarding the SIM
 telephone number         former employee or       change that occurred on or
 unknown)                 contractor of            around February 8, 2019
                          Convergys Customer
                          Management Group
                          Inc. n/k/a Concentrix
                          Corporation
                          (“Concentrix”)
 Current or former        Prime                    Upon information and belief,
 employees or                                      knowledge regarding any
 representatives of                                investigation by Prime
 Prime, 12550 Reed                                 concerning the SIM change that
 Road, Suite 100,                                  occurred on or around November
 Sugar Land, Texas                                 5, 2018
 77478
 Current or former        Alorica                  Upon information and belief,
 employees or                                      knowledge regarding any
 representatives of                                investigation by Alorica
 Alorica, 5161                                     concerning the SIM changes
 California Avenue,                                that occurred on or around
 Irvine, California                                December 1, 2018 and February
 92617                                             4, 2019
 Current or former        Teleperformance          Upon information and belief,
 employees or                                      knowledge regarding any
 representatives of                                investigation by
 Teleperformance,                                  Teleperformance concerning the
 6510 So. Millrock                                 SIM change that occurred on or
 Drive, Suite 150                                  around February 6, 2019
 Holladay, Utah
 84121



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 Name & Contact           Employer                  Area of Knowledge
 Information

 Current or former        Concentrix                Upon information and belief,
 employees or                                       knowledge regarding any
 representatives of                                 investigation by Concentrix
 Concentrix, 201 East                               concerning the SIM change that
 Fourth Street                                      occurred on or around February
 Cincinnati, Ohio                                   8, 2019
 45202

 Current or former        Google                    Upon information and belief,
 employees or                                       knowledge regarding the
 representatives of                                 security protocols implemented
 Google                                             upon, and any investigation
 (addresses and                                     concerning the intrusion by
 telephone numbers                                  unauthorized parties into,
 unknown)                                           Plaintiff’s Gmail account, as
                                                    alleged in the October 25, 2019
                                                    Corrected Complaint
                                                    (“Complaint”)
 Current or former        Twitter                   Upon information and belief,
 employees or                                       knowledge regarding the
 representatives of                                 security protocols implemented
 Twitter                                            upon, and any investigation
 (addresses and                                     concerning the intrusion by
 telephone numbers                                  unauthorized parties into,
 unknown)                                           Plaintiff’s Twitter account, as
                                                    alleged in the Complaint




 Current or former        Instagram                 Upon information and belief,
 employees or                                       knowledge regarding the
 representatives of                                 security protocols implemented
 Instagram                                          upon, and any investigation
 (addresses and                                     concerning the intrusion by
 telephone numbers                                  unauthorized parties into,
 unknown)                                           Plaintiff’s Instagram account, as
                                                    alleged in the Complaint



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 Name & Contact           Employer                Area of Knowledge
 Information

 Current or former        DropBox                 Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 DropBox                                          upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s DropBox account, as
                                                  alleged in the Complaint
 Current or former        Twitter                 Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 LinkedIn                                         upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s LinkedIn account, as
                                                  alleged in the Complaint
 Current or former        Slush Pool              Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 Slush Pool                                       upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s Slush Pool account, as
                                                  alleged in the Complaint
 Current or former        Gemini                  Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 Gemini                                           upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s Gemini account, as
                                                  alleged in the Complaint
 Current or former        First Citizens Bank     Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 First Citizens Bank                              upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s First Citizens Bank
                                                  account, as alleged in the
                                                  Complaint

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 Name & Contact           Employer                Area of Knowledge
 Information

 Current or former        HitBTC                  Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 HitBTC                                           upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s HitBTC account, as
                                                  alleged in the Complaint
 Current or former        Coinbase                Upon information and belief,
 employees or                                     knowledge regarding the
 representatives of                               security protocols implemented
 Coinbase                                         upon, and any investigation
 (addresses and                                   concerning the intrusion by
 telephone numbers                                unauthorized parties into,
 unknown)                                         Plaintiff’s Coinbase account, as
                                                  alleged in the Complaint
 Subject to               AT&T or current         Knowledge regarding Plaintiff’s
 confirmation of          employer                interactions and
 identity, the AT&T                               communications with AT&T
 employees or                                     employees or contractors, as
 contractors                                      alleged in the Complaint
 referenced in the
 Complaint, or with
 whom Plaintiff
 otherwise
 communicated,
 regarding the
 incidents alleged in
 the Complaint
 (to the extent these
 individuals are
 current AT&T
 employees, they may
 be contacted through
 undersigned counsel)




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 Name & Contact           Employer                 Area of Knowledge
 Information

 Plaintiff Jason          Unknown                  Knowledge regarding all
 Williams                                          allegations set forth in the
                                                   Complaint, all security
                                                   measures implemented on
                                                   accounts which were accessed
                                                   without authorization, and the
                                                   means by which third-party(ies)
                                                   were able to access Plaintiff’s
                                                   accounts without authorization
 Subject to               Unknown                  Upon information and belief,
 identification, any                               knowledge regarding some or all
 third-parties with                                of the allegations set forth in the
 which Plaintiff                                   Complaint
 communicated
 regarding any of the
 circumstances or
 events alleged in the
 Complaint
 Subject to               Unknown                  The means by which Plaintiff’s
 identification, the                               account were accessed and any
 third-party(ies) who                              unauthorized transactions or
 accessed any of                                   activities that occurred
 Plaintiff’s accounts                              regarding Plaintiff’s accounts
 without
 authorization
 All individuals
 identified in
 Plaintiff’s Rule
 26(a)(1) initial
 disclosures, in any
 response to
 discovery, or in any
 deposition in this
 matter

       AT&T also anticipates the potential need for testimony and/or evidence from

additional persons identified through discovery.

       By this initial disclosure statement, AT&T does not authorize Plaintiff or its


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representatives to communicate with AT&T’s present or former employees, outside

contractors, agents, representatives or other individuals who may have privileged

information, or authorize any communications otherwise prohibited by applicable

rules of professional conduct. Any such individuals should be contacted through

AT&T’s counsel.

      (ii) a copy—or a description by category and location—of all
documents, electronically stored information, and tangible things that the
disclosing party has in its possession, custody, or control and may use to
support its claims or defenses, unless the use would be solely for
impeachment

       At this time, without having conducted discovery, AT&T is aware of the

following documentary evidence, data compilations, and tangible things that may

be within its possession, custody, or control that AT&T may use to support its

claims or defenses:

          a. Account notes concerning access to and activity upon Plaintiffs’ AT&T

              Mobility account;

          b. Documents otherwise concerning the SIM changes, International

              Mobile Equipment Identity (“IMEI”) numbers associated with the SIM

              changes, or mobile devices associated with the SIM changes;

          c. Documents concerning Plaintiff’s interactions or communications with

              agents or representatives of AT&T;

          d. Documents concerning the contractual terms agreed to by Plaintiff

              regarding AT&T’s provision of wireless telephone service to Plaintiff;

              and


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       AT&T maintains a majority of these categories of documents and things at its

corporate offices. Subject to the terms of a protective order to be issued in this

action, relevant and non-privileged documents and things shall be made available

for inspection and copying, or otherwise produced in a manner agreed to by the

parties.

      (iii) a computation of each category of damages claimed by the
disclosing party—who must also make available for inspection and copying
as under Rule 34 the documents or other evidentiary material, unless
privileged or protected from disclosure, on which each computation is
based, including materials bearing on the nature and extent of injuries
suffered

       AT&T has not asserted a counterclaim seeking damages at this time. AT&T

reserves the right to assert counterclaims seeking monetary and/or non-monetary

relief, and if it does so it will supplement this disclosure.

      (iv) for inspection and copying as under Rule 34, any insurance
agreement under which an insurance business may be liable to satisfy all
or part of a possible judgment in the action or to indemnify or reimburse
for payments made to satisfy the judgment.

       AT&T is continuing to investigate whether any insurance coverage may be

applicable to this litigation, but is not aware of any at this time. AT&T will

supplement its disclosures if and as necessary when such investigation is complete.




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This 18th day of May, 2020.




                            Joseph S. Dowdy (N.C. State Bar No. 31941)
                            Phillip A. Harris, Jr. (N.C. State Bar No. 39740)
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                            Counsel for Defendant AT&T Mobility LLC




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                            CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I served the foregoing document by

first class mail sent to the following:

Terence S. Reynolds                       Christopher LaVigne
Lucas D. Garber                           WITHERS BERGMAN LLP
SHUMAKER LOOP & KENDRICK                  430 Park Avenue, 10th Floor,
LLP                                       New York, New York 10022-3505
101 South Tyron Street
                                          Counsel for Plaintiff Jason Williams
Suite 2200
Charlotte, North Carolina 28280
Counsel for Plaintiff Jason Williams




       This the 18th day of May, 2020.




                                               Joseph S. Dowdy




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